          Case 23-31315 Document 171 Filed in TXSB on 06/20/24 Page 1 of 7




                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 In re:                                            § Chapter 13
                                                   §
 JARROD ERWIN                                      § Case No. 23-31315
                                                   §
                          Debtor                   §
                                                   §

               FINANCIAL FREEDOM GROUP INC.’S MOTION FOR RELIEF
                           FROM THE AUTOMATIC STAY

          This is a motion for relief from the automatic stay. If it is granted, the movant
          may act outside of the bankruptcy process. If you do not want the stay lifted,
          immediately contact the moving party to settle. If you cannot settle, you must
          file a response and send a copy to the moving party at least 7 days before the
          hearing. If you cannot settle, you must attend the hearing. Evidence may be
          offered at the hearing and the court may rule.

          Represented parties should act through their attorney.

          There will be a hearing on this matter on July 9, 2024 at 9:30 A.M. in
          courtroom 403, at Bob Casey United States Courthouse, 515 Rusk, Houston,
          Texas 77002.

          Interested Party Financial Freedom Group Inc. (“FFG”) files its Motion for Relief from the

Automatic Stay to request documents from the Debtor and to take his deposition.

                                      RELIEF REQUESTED

          1.     In June of 2022, multiple lawsuits involving African Methodist Episcopal Church

plan participants were consolidated into an MDL action in the Western District of Tennessee,

MDL Case no. 1:22-MD-03035, which is currently pending (“AMEC Litigation”).

          2.     FFG and Debtor are named as defendants in the AMEC Litigation.

          3.     FFG seeks relief from the automatic stay in this bankruptcy to request and gain

access to certain documents controlled by Debtor and in Debtors’ possession that have been at

issue in this proceeding and the related adversary proceeding under case number 4:23-bk-3147.
       Case 23-31315 Document 171 Filed in TXSB on 06/20/24 Page 2 of 7




                                JURISDICTION AND VENUE

       4.      The United States Bankruptcy Court for the Southern District of Texas (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a core proceeding

pursuant to 28 U.S.C. § 157(b).

       5.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       6.      The relief requested herein is sought pursuant to §§ 105(a) and 362(d) of title 11 of

the United States Code (the “Bankruptcy Code”).

                                        BACKGROUND

       7.      On March 2022, plaintiffs (the “AMEC Plaintiffs”) brought a series of complaints

against the Debtor and other defendants in numerous federal courts. These complaints were

consolidated in an MDL in the Western District of Tennessee (the “Litigation Court”) in June of

2022. FFG and the Debtor are defendants in the AMEC Litigation. Several parties’ claims in the

AMEC Litigation arise (at least in part) out of Debtor’s conduct. In particular, the AMEC Plaintiffs

allege that Debtor ran or participated in a series of sham businesses that defrauded and extorted

millions of dollars over several years from the AMEC Plaintiffs who were participants in the African

Methodist Episcopal Church retirement plan. The sham businesses (“Motorskill”) are named as

defendants in the AMEC Litigation and have since been dissolved, but Debtor possesses documents

and other evidence related to the activities and transactions of the businesses and other evidence

relevant to the AMEC Litigation factual allegations and claims.

       8.      On April 7, 2023, the Debtor filed a voluntary petition for relief under chapter 7 of

the Bankruptcy Code. [Doc. No. 1]. On May 8, 2023, the Court entered its Order granting the

Debtor’s Motion to Convert Case to Chapter 13. [Doc. No. 24].




                                                 2
       Case 23-31315 Document 171 Filed in TXSB on 06/20/24 Page 3 of 7




        9.      This Court has already adjudicated discovery disputes arising out of the Litigation

in this bankruptcy proceeding. On April 17, 2023, the AMEC Plaintiffs filed an Emergency Motion

for Relief from the Automatic Stay by Plaintiffs In: re AME Church Employee Retirement Fund Litigation MDL

No. 1:22-MD-03035 [Doc. No. 10]. On June 14, 2023, after several hearings on the AMEC

Plaintiffs’ motion, this Court ordered the Debtor to: (1) appear for a Rule 2004 examination, and

(2) produce boxes of documents in his possession. [Doc. No. 43 – “Discovery Order”]. Upon

information and belief, the Debtor has approximately 56 boxes of documents (the “Documents”)

in his possession.

        10.     On July 7, 2023, the AMEC Plaintiffs filed their Motion for Sanctions [Doc. No. 63],

seeking sanctions against the Debtor for his violation of the Discovery Order.

        11.     On August 16, 2023, after a hearing, this Court entered its Order on Motion for

Sanctions [Doc. No. 97 – “Sanctions Order”], finding that the Debtor (1) did not comply with its

Discovery Order; (2) was evasive, contradictory and untruthful during his 2004 examination; and

(3) was an unreliable witness even under oath. Id. The Court clarified the intention of the

Discovery Order—it required Debtor to “produce all documents that possibly lead to admissible

evidence in the litigation between the debtor and the interested parties.” Id. (emphasis added). The

Court again ordered the Debtor to, “without limitation,” produce documents he had earlier

withheld. Id.

        12.     On January 18, 2024, this Court signed its order confirming the Debtor’s Chapter

13 Plan. [Doc. No. 163].

        13.     On May 2, 2024, the Court in the African Methodist Episcopal Church parties

(“AMEC”) adversary proceeding, case number 4:23-bk-3147, held an emergency hearing on




                                                   3
       Case 23-31315 Document 171 Filed in TXSB on 06/20/24 Page 4 of 7




AMEC’s request and ordered Debtor to allow AMEC access to boxes held in storage between

May 13, 2024 – May 17, 2024. [Doc. No. 32 – Discovery Conference Order].

        14.    Debtor has documents in his possession that are relevant to the AMEC Litigation.

The Documents are not the Debtor’s personal documents, but rather are the business records of

the now-defunct Motorskill entities. The Motorskill entities are named defendants in the AMEC

Litigation.

        15.    The Debtor has already produced the Documents to the AMEC Plaintiffs and AMEC

in this bankruptcy proceeding and the related adversary proceeding. The AMEC Plaintiffs copied a

portion of the Documents but refused to produce them on the basis of attorney work product

privilege. Moreover, AMEC has had access to the documents and copied and scanned the portions

of the documents it felt relevant.

        16.    This Court ordered the AMEC Plaintiffs to return the Documents to the Debtor in

these proceedings [Doc. No. 43]. By stipulation, in the related adversary proceedings, AMEC

agreed to return all documents it removed from the storage to the Debtor [Doc. No. 39]. As a

result, FFG is currently unable to obtain the Documents from other parties in the AMEC

Litigation.

        17.    During a May 3, 2024 Status Conference, the Litigation Court addressed concerns

regarding the parties’ access to the Documents in Debtors’ possession and indicated that the

parties should seek access to the Documents from this Court. See AMEC Litigation, Status

Conference held on May 3, 2024 [Doc. No. 391].

                              ARGUMENT AND AUTHORITIES

        18.    FFG seeks relief from this Court to request the Debtor to allow it access to the

Documents in his possession.



                                               4
       Case 23-31315 Document 171 Filed in TXSB on 06/20/24 Page 5 of 7




       19.    Section 362(d)(1) provides that the court shall grant relief from the automatic stay

for cause. 11 U.S.C. § 362(d)(1).

       20.    FFG seeks Documents in Debtor’s possession—specifically, the exact Documents

already ordered to be produced by this Court to the AMEC Plaintiffs and AMEC in the related

adversary proceedings. See Sanctions Order [Doc. 97]; Discovery Conference Order [Doc. 32].

The Documents are not the Debtor’s personal documents; rather, they are the business records of

the now defunct Motorskill entities that remain in the Debtor’s possession. The Debtor has already

produced the Documents to other parties in the AMEC Litigation, so producing the Documents

again will not prejudice the Debtor or his ability to effectuate his confirmed chapter 13 Plan.

       21.    However, should the Debtor not be required to produce the Documents again, FFG

will be severely prejudiced. The AMEC Plaintiffs and AMEC have had access to the Documents

and the benefit of reviewing and copying the documents they found relevant. To be clear, the

AMEC Plaintiffs and AMEC’s access to the Documents is for use in the AMEC Litigation. The

Litigation Court has directed the parties to this Court for access to the Documents. FFG seeks the

same access to all the Documents in the Debtor’s possession as the AMEC Plaintiffs and AMEC

have been afforded. Based on the Litigation Court’s dicta, this Court is the only Court that can

grant FFG’s requested relief.

       22.    Based on the foregoing, good cause exists to grant FFG relief from the automatic

stay. The Debtor’s Plan of reorganization has already been confirmed by this Court. [Doc. No.

133]. The relief FFG seeks from this Court does not prejudice the Debtor’s ability to effectuate his

Plan. FFG needs the Documents in order to fully litigate and defend itself in the AMEC Litigation.

       23.    The Federal Rules of Bankruptcy Procedure impose a stay of 14 days on an order

of relief from the automatic stay. See Fed. R. Bankr. P. 4001(a)(3). Given the advanced stage of



                                                5
       Case 23-31315 Document 171 Filed in TXSB on 06/20/24 Page 6 of 7




this proceeding, and that this Court has previously ordered similar relief regarding the AMEC

Litigation, FFG requests that the Court order that relief be immediately granted upon the entry of

its Order.

                                        CONCLUSION

       FFG requests that this Court enter an order modifying the stay in relation to the AMEC

Litigation to allow FFG to request and gain access to Documents controlled by Debtor in the

AMEC Litigation. FFG further requests the Court direct that this Order not be subject to the 14-

day stay normally imposed by Fed. R. Bankr. P. 4003(a)(3).

       DATED: June 20, 2024

                                            Respectfully submitted,

                                            ADAMS AND REESE LLP

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                                                    Freedom Group, Inc.




                                                6
        Case 23-31315 Document 171 Filed in TXSB on 06/20/24 Page 7 of 7




                                       Certificate of Service

        I certify that on June 20, 2024, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas, and caused a paper copy to be mailed via First Class Mail to the Debtor at the
following addresses:

       Jarrod Reed Erwin
       23501 Cinco Ranch Blvd
       H120 Pmb 611
       Katy, TX 77494-3095
                                                       /s/ Kyle C. Steingreaber
                                                       Kyle C. Steingreaber


                                     Certificate of Conference

       I certify that prior to the filing of this motion, on June 20, 2024, I conferred with Debtor’s
counsel, Mr. Reese W. Baker, regarding the relief requested, and Debtor is opposed to the relief
requested.


                                                       /s/ Kyle C. Steingreaber
                                                       Kyle C. Steingreaber




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